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Attorney or Trustee Name, Address, Telephone & FAX                        FOR COURT USE ONLY
Numbers, State Bar No. & Email Address

Jason M. Rund
270 Coral Circle                                                                                        FILED & ENTERED
El Segundo, CA 90245
Telephone: (310) 640-1200
Facsimile: (310) 640-0200                                                                                       NOV 29 2023
Email:     trustee@srlawyers.com
                                                                                                          CLERK U.S. BANKRUPTCY COURT
                                                                                                          Central District of California
                                                                                                          BY evangeli DEPUTY CLERK


     Attorney for chapter 7 trustee
     Chapter 7 trustee

                                          UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

In re:                                                                    CASE NO.: 2:19-bk-23085-BB
                                                                          CHAPTER: 7


YOUTH POLICY INSTITUTE, INC.,                                                      AMENDED ORDER ON FINAL FEE
                                                                              APPLICATIONS ALLOWING PAYMENT OF:
                                                                              (1) COURT AND U.S. TRUSTEE FEES; AND
                                                                                  (2) FINAL FEES AND EXPENSES OF
                                                                                   TRUSTEE AND PROFESSIONALS
                                                                                           [LBR 2016-1(c)(4)]
                                                                          DATE: November 15, 2023
                                                                          TIME: 2:00 p.m.
                                                                          COURTROOM: 1539
                                                                          ADDRESS: 255 East Temple Street, Los Angeles, CA 90012


                                                              Debtor.

The chapter 7 trustee filed a Trustee’s Final Report in this case. Applications for final compensation were filed by the
chapter 7 trustee and, if applicable, other professionals. Based on findings and conclusions made by the court, IT IS
ORDERED: Fees and expenses are approved as follows, and if not already paid may be paid:

1.   Fees: U.S. Bankruptcy Court and U.S. Trustee
     U.S. Bankruptcy Court fees (specify)
                                                                        $                         350.00
                                                                        $
                                                                        $


     Subtotal of court fees:                                            $                         350.00
     U.S. Trustee fees                                                  $                            0.00
     Total allowed court and U.S. Trustee fees                          $                         350.00

         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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2.   Professional Fees and Expenses:

     a. Chapter 7 Professional Fees and Expenses:

                                Total Final Request                Total Allowed                 Paid-to-Date           Remaining to be Paid
           LAW OFFICE OF PHILIP DRACHT Special Counsel for Trustee
                Fees            $        1,612,642.68          $       1,612,642.68          $     1,612,642.68         $                      0.00
                Expenses        $              1,701.96        $             1,701.96        $           1,701.96       $                      0.00
           Greenberg Glusker Fields Clayman & Machtinger LLP Attorney for Trustee
                Fees            $           558,314.50         $         558,314.50          $                0.00      $             558,314.50
                Expenses        $              9,488.16        $             9,488.16        $                0.00      $                9,488.16
           HAHN FIFE & COMPANY LLP Accountant for Trustee
                Fees            $            40,476.00         $           40,476.00         $                0.00      $              40,476.00
                Expenses        $                921.10        $               921.10        $                0.00      $                    921.10
           Barbara J Schwartz Retirement Plan Consultant
                Fees            $                590.63        $               590.63        $                0.00      $                    590.63
                Expenses        $                    0.00      $                  0.00       $                0.00      $                      0.00
           Interco Management Corporation Trustee’s Field Agent
                Fees            $            45,000.00         $           45,000.00         $                0.00      $              45,000.00
                Expenses        $              5,681.40        $             5,681.40        $                0.00      $                5,681.40



        Additional professional fees and expenses attached.


     b. Chapter 11 Professional Fees and Expenses (prior to conversion to chapter 7): N/A

                                Total Final Request                Total Allowed                 Paid-to-Date           Remaining to be Paid
           NONE
                Fees            $                    0.00      $                  0.00       $                0.00      $                      0.00
                Expenses        $                    0.00      $                  0.00       $                0.00      $                      0.00



        Additional professional fees and expenses attached.




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3.   Trustee Fees and Expenses:

     a. Chapter 7 Trustee Fees and Expenses:

                                Total Final Request                Total Allowed               Paid-to-Date             Remaining to be Paid
           Trustee JASON M. RUND:
                Fees             $           223,584.32        $         223,584.32           $               0.00      $             223,584.32
                Expenses         $              6,377.13       $             6,377.13         $               0.00      $                6,377.13
                Bank Fees        $             47,421.34       $           47,421.34          $        47,421.34        $                     0.00
                Bond             $              6,857.05       $             6,857.05         $          6,857.05       $                     0.00
                Taxes            $              3,793.68       $             3,793.68         $               0.00      $                3,793.68
                Taxes            $             18,118.52       $           18,118.52          $               0.00      $              18,118.52
           Employer Payroll

            Additional trustee fees and expenses attached.

     b. Chapter 11 Trustee Fees and Expenses (prior to conversion to chapter 7): N/A

                                Total Final Request                Total Allowed               Paid-to-Date             Remaining to be Paid
           Trustee JASON M. RUND:
                Fees             $                    0.00     $                  0.00        $               0.00      $                     0.00
                Expenses         $                    0.00     $                  0.00        $               0.00      $                     0.00
                Bank Fees        $                    0.00     $                  0.00        $               0.00      $                     0.00
                Bond             $                    0.00     $                  0.00        $               0.00      $                     0.00
                Taxes            $                    0.00     $                  0.00        $               0.00      $                     0.00

            Additional trustee fees and expenses attached.

4. If the final dividend to creditors is the same or higher than proposed in the Trustee’s Final Report, the trustee shall
   immediately proceed with the final distribution to creditors and professionals. If the final dividend to creditors is less
   than that which was proposed in the Trustee’s Final Report, the trustee shall immediately submit to the U.S. Trustee
   an Amended Trustee’s Report of Proposed Distribution and Dividend Payments within 30 days of the entry of this
   order. Within 14 days the U.S. Trustee will review the proposed distribution and notify the trustee to proceed with the
   final distribution to creditors and professionals. The distribution to creditors and professionals shall occur at the same
   time and no later than 90 days from the entry of this order.

5.     Other: THIS AMENDED ORDER AMENDS AND SUPERSEDES “ORDER ON FINAL FEE APPLICATIONS”
     ENTERED ON THE DOCKET ON NOVEMBER 17, 2023 AT DOCKET NO.276.

                                                                         ###



                 Date: November 29, 2023




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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